                        ENGINEERING REPORT


                 INVESTIGATION OF VEHICLE FIRES
                                   AND
                       ENGINE BLOCK HEATERS


                      United States District Court
                            District of Alaska
                    Case No. 3:18-CV-00146 HRH




                                    By:

                 STANLEY JAWORSKI, P.E., C.F.E.I., C.V.F,I.


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                    INVESTIGATION OF VEHICLE FIRES AND ENGINE BLOCK HEATERS
ENGINEERING     REPORT                                                                        Z}IULY   2O2O


1.0      INTRODUCTION


Vehicles manufactured by Toyota and sold by Kendall Auto Group (Kendall) have been involved in
thermal events. The vehicles involved were equipped with electrically powered engine block heaters. lt
is alleged that defective power cords for the block heaters are the cause of the thermal events.


Robson Forensic lnc. was retained by defense counsel representing Warren Distribution and the
manufacturer of the engine block heaters, ElectricalComponents lnternational lnc. and Electrical
Components Canada lnc. (EC|/ECC)


The purpose of my investigation was to:
    r    lnvestigate the vehicle fires.
    r    Determine whether or not the engine block heaters or their cords were the cause of the fires
    r    Determine if the engine block heaters or their cords were defective in a way that caused the
         fires.

Robson Forensic, lnc. invoices at the rate of 5430 per hour for my services and I have no financial
interest in the outcome of this case. The total billed to date is estimated at S 31,023.11-. A copy of my
curriculum vitae and testimony history is attached to this report. I may use any or all of the items listed
below, as well as any standards/ publications referred to (or referenced to) in this report, to support my
opinions and findings.

2.O      INFORMATION REVIEWED

     1   Complaint, Kendall vs. Warren vs. ECC/ECI U.S. District Court, Alaska, Case No. 3:18-cv-00146-
         HRH ; 19 Oct 2018
     2   Complaint, Kendall vs. Warren, Superior Court, Alaska, Case No. 3AN-18-6927C|;22May 2Ot8
     3   Kendall Automotive G roup website, https://www, kenda llautogrou p.com/
     4   Answer to complaint by Warren Distribution
     5   Third Party Complaint by Warren Distribution against ECIIECC
     5   Answer to Third Party Complaint by ECI
     7   Answer to Third Party Complaint by ECC
     8   Kendall's response to Warren's First Discovery Requests
     9    Kendall's response to   ECC   &   ECI's First Discovery Requests
     L0 Kendall's response to Warren's Second Discovery Requests
     l.L Warren's response to Kendall's First Discovery Requests and Warren's Responsive Documents
     12 Response to Warren's First Discovery Requests to ECC
     13 Response to Warren's First Discovery Requests to ECI
     14 Response to Kendall's First Discovery Requests to ECI
     15 Bates Stamped Documents ECC 000015 - 000053; 000080 - 000097; 000473 - 092607
     16 Bates Stamped Documents KDH 000001-005606;005623 -008525
     L7 Warren 000001 - OO0I24
     L8 KDH 008560-8593 - Kendall's 12th Supplemental Disclosure
     L9 Kendall's 17th Supplemental Disclosures ECI 092623-129348



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          20 Bates Stamped Documents ECI 129349-154794
          21 Bates Stamped Documents ECI 154795-158379
          22 Bates Stamped Documents KDH 00547-005491
          23 Deposition testimony transcript of Duncan Whitelaw & exhibits; 28 October 2019
          24 Deposition testimony transcript of Josh Dare & exhibits; 29 October 2019
          25 Bates Stamped Documents KDH 005089 -005291
          26 "A Stitch ln Time" The Complete Guide to Electrical lnsulation Testing Copyright 2006
          27 NFPA 921 Guide for Fire & Explosion lnvestigations,2Ot4, National Fire Protection Association
          28 My photographs and notes from myvehicle inspections; 24 Jun2O2O
          29 My photographs and data from my inspection of exemplar engine block heaters


    3.0      BACKGROUND


    Kendall operates as a dealer of new and used cars. Per the Kendal website, Kendall represents 23
    automakers at 40 dealerships.l Toyota is one of the manufacturers represented by Kendall. One of the
    states where Kendall operates dealerships is Alaska.

An engine block heater is a device that preheats the engine of a vehicle for the purpose of facilitating
engine starting. Warm engines start easier than cold engines because the lubricating oil becomes more
viscous when it is cold, which adds load to the starter motor. Additionally fuel atomizes better and is
more easily ignited at warmer temperatures than at colder temperatures.

The subject engine block heaters installed by Kendall are the ECI model 913-US. These are identical in
design to the Canadian market model 913. These block heaters are electrical resistance type heaters.
Other examples of electrical resistance heaters are the heating elements in electric ovens, electric
baseboard heaters, or an electric stovetop burner. Electricity flows through the resistive heating
element, and the electrical energy is converted into thermal energy.

Since January of 201,4 Kendall has installed the ECI 913-US block heaters on all Toyota vehicles it sold        to
Alaska car purchasers.2
       r    ECC   manufactures the block heaters for        ECl.
       r           the block heaters under the "Pyroil" brand name.
            ECI sells
       o    Warren buys the Pyroil block heaters and distributes (sells)them.
       r    Kendal purchases the block heaters from Warren, and installs them in vehicles at their
            dealerships.




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    https://www.kendallautogroup.com/
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    Complaint, Kendall vs. Warren, Superior Court, Alaska, Case No. 3AN-18-6927   ;22   May 2018, Paragraph 8




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The subject engine block heaters / power cords are alleged to have started several vehicle fires and
damaged others (thermal events). Sean Shideh, P.E., has conducted an investigation on behalf of
Kendall and / or its insurer. As part of his investigation Shideh investigated five (5) vehicles which had
been involved in a fire and had the subject engine block heater installed. Among his conclusions, Shideh
opines that:
    o   Errors in installation procedures cannot be considered a factor in these fires.
    r   Sudden changes in the in engine and engine compartment design cannot be considered a factor.
    o   There are no reports of fires signifying a trend within a specific Toyota model, engine family, or
        certain dealer's installation procedures.


4.O     VEHICLE INSPECTIONS


On 24 June 2020 I inspected three of the incident vehicles at Chaz Limited Collision Express located at
1801 E 5th Ave, Anchorage, Alaska. These were the only vehicles made available for inspection upon my
request.

Jeep Patriot
I inspected a 2015 Jeep Patriot, VIN 1C4NJRBBXFD2L4355. The engine block heater and its associated
powercord had already been removed at a previous inspection and were not present. lwas unableto
inspect either item.

The vehicle exhibited evidence of having been involved in a front end collision with a tree, pole, or
bollard, based on my observation of damage to the hood, front lower cross member and radiator core
support (Figure L).

The vehicle exhibits more damage from heat toward the front of the vehicle, with the most damage
being inside the engine compartment (Figure 2).


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                               Figure   1: Front   End Damage, Jeep Patriot




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                        Figure   2:       Fire Patterning and Heat Damage, Jeep Patriot


The positive battery cable, which goes from the positive battery terminalto a terminalon the starter
motor solenoid indicated damage due to excessive current flow. The end of the cable is frayed and
exhibits damage typical of arcing (Figure 3). The cable was lying in the engine compartment. The cable
had fallen away from the starter motor solenoid, but was still attached to the terminal, which had fallen
out of the solenoid itself. On that terminal, the starter cable is joined to the charge cable coming from
the alternator, the vehicle's source of electrical power, which is driven by the engine. This cable is an
electrical path from the battery to the starter motor and from the alternator to the battery for charging
the battery when the engine is running. I repositioned the cable in its proper orientation and routing
(Figure 4).




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                                     Figure   3: Starter Cable Damage




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                         Startang end Charging Cable




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                                Figure   4: Starting   - Charging System Cable

There is physical damage to the oil pan directly behind the oilfilter. The oil pan has been crushed
(Figure 5). A section of the starting and charging system cable which was routed through this area has
also been crushed / flattened (Figure 6).




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                           Figure   5: Oil   Pan Crush Damage




             Figure   6: Crushed/Flattened Starting and Charging Cable




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Tovota Tacoma
I inspected a2OI7 Toyota Tacoma, VIN 3TMDZ5BN4HM029622. The engine block heater was present,
located fully inserted into its core hole in the engine block. The engine block heater's associated power
cord had already been removed at a previous inspection and was not present. I did not get to inspect
the power cord.

Fire and heat damage was greatest at the front of the vehicle (Figure 7). The inside of the passenger
compartment had been on fire. The front seat row of the passenger compartment had greater fire and
heat damage done to it than the back seat row, and many flammable objects such as clothing, paper,
and athletic shoes in the back seat area survived the fire. The engine block heater was frozen in its core
hole, and I was unable to retrieve it (Figure 8). There was significant damage from heat and fire in the
engine compartment (Figure 9).




                           Figure   7:   Fire Damage to Front of Toyota Tacoma




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                            Figure   8:   Engine Block Heater, Toyota Tacoma




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                Figure   9:   Fire and Heat Damage, Engine Compartment, Toyota Tacoma


Tovota Highlander

I inspected a 20L7 Toyota Highlander, VIN 5TDJZRFH4HS38736. The engine block heater and its
associated power cord had already been removed at a previous inspection and were not present.     I   was
unable to inspect either item.

The front tires had completely burned and the rear tires had not (Figure 1-0). Some portions of the cargo
area lift gate and quarter panel still had paint on them that had not yet been discolored by heat. A
portion of the rear bumper cover, which is plastic, survived the fire as well. Damage in the engine
compartment was extensive (Figure 12). I inserted one of my fingers into the engine block heater core
hole. The engine block heater core hole was clear of debris and the inside surface felt undamaged.
There were small broken pieces of windshield on the floor of the passenger compartment.




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                   Figure 10: Fire and Heat Damage, Toyota Highlander


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                 Figure 11: Paint on Quarter Panel, Plastic Bumper Cover




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        EXAMINATION OF EXEMPIAR ENGINE BLOCK HEATERS

I inspected exemplar engine block heaters provided   to me by the manufacturer. I installed   a
thermocouple in the molded silicon connector and monitored the temperature inside the connector
while I operated exemplar engine block heaters under three different conditions. I operated the engine
block heaters while fully in contact with an adequate heatsink, while partially in contact with an
adequate heatsink, and while not in contact with an adequate heatsink.

When operated in full contact with an adequate heat sink the internal temperature of the molded
connectors never exceeded its rated temperature.

For the portion of the examination when I operated the an engine block heater while not in contact with
an adequate heatsink I also mounted a thermocouple to the surface of the engine block heater, on the
surface which would normally be inserted into the core hole. While not in contact with a heatsinkthe
surface temperature of the engine block heater reached 1-,080" Fahrenheit before I de-energized the
heater.




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6.0        ANALYSIS

Jeep Patriot
The fire and heat damage done to the Jeep Patriot that I inspected is greatest at the front of the vehicle,
in the engine compartment. The engine compartment is the most likely area of origin. Within the area
of origin a likely and competent source of ignition is the damaged starting and charging cable. Physical
evidence supports that the vehicle was crashed. During the crash an object struck the oil pan with
sufficient force to damage it. Additionally, the starting and charging system cable which was routed in
that area was impinged/damaged. This is supported by the physical evidence of the crushing and
flatting of the cable depicted in Figure 5. When the cable sustained this damage, the insulation was also
damaged, exposing a section of bare conductor. The starting and charging system cable is constantly
energized, is unfused, and is not protected from overcurrent. Once the cable's insulation is damaged
the cable is a competent ignition source and capable of igniting a fire.

An exposed section of cable in contact with the engine block or another grounded part of the vehicle
will create a short circuit. This will cause an excessive amount of current to flow through the cable,
causing it to become hot. This competent source of ignition caused the fire in the engine compartment
of the Jeep Patriot.

The fire   that damaged the Jeep Patriot was caused by a damaged starting and charging system cable.

Tovota Tacoma
The fire and heat damage done to the Toyota Tacoma that I inspected is greatest at the front of the
vehicle. While there was fire and heat damage in the passenger compartment, the damage was greater
in the engine compartment. Aluminum components in the engine compartment were molten, such as
the brake system master cylinder, while clothing and paper items were still intact in the passenger
compartment.

That physical evidence indicates that the engine compartment reached higher temperatures, and likely
burned longer. lt is likely that the area of origin of the fire was the engine compartment. Also, the
failure of the vehicle's windshield is consistent with the engine compartment being the compartment of
origin versus the passenger compartment.

A cause of the fire could not be determined.


Tovota Hiehlander
Most of the Highlander was consumed in the fire. Still, there was physical evidence that the front of the
vehicle had reached higher temperatures than the rear of the vehicle. For example, the front tires had
completely burned, whereas the rear tires had not. Also, some portions of the cargo area lift gate and
quarter panel still had paint on them and had not yet been discolored by heat. This physical evidence
supports that the front of the vehicle burned longer, and reached higher temperatures.

The origin of the fire was nearer to the front of the vehicle than it was to the rear. The presence of small
pieces of broken windshield glass on the floor of the passenger compartment, versus the windshield
being smoothly melted onto the top of the dash board structure supports that the fire did not start in
the passenger compartment.




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I reviewed the initial investigation done on by Tom Saxon, A photo on page KDH 00848 shows where
Saxon found the engine block heater. The heater's power cable is lying across an exhaust pipe (Figure
13). Another picture, from page    KDH 008478, shows that    the molded silicone connector is intact (Figure
14).


The likely cause of the fire is a defective installation of the engine block heater. The block heater was
found outside of the core hole, I have seen no reports in which a correctly installed block heater was
found outside of the core hole after a thermal event or fire. No explanation for how a fire would cause
the block heater to fall out of its core hole can be given or has been given by any expert. lt is likely that
the engine block heater's retaining clip was not fully engaged when the heater was installed. This
allowed the heater to fall out of the core hole, coming to rest on the exhaust pipe by its power cord.
Two possible competent sources of ignition in the engine compartment were identified relating to the
block heater being found outside its core hole.

The first competent ignition source is a damaged power cord's jacket and insulation caused by direct
contact with the hot exhaust pipe (melted on the exhaust pipe) during vehicle operation. A heat
damaged power cord would create a short circuit in the power cable. A competent source of ignition
would be created the next time the power cable to the block heater was energized.

A second competent ignition source is the engine block heater itself. No longer inserted into its core
(reasonable heat sink), the block heater would become a competent ignition source within the engine
compartment the next time it was powered, Then engine block heater I operated in a similar condition
reached temperatures beyond 1,000' Fahrenheit, which is well past the ignition temperatures of many
materials in an engine compartment such as plastic, undercoating, or grease/oil residue.

Both competent ignition sources are the result of a defective installation of the block heater and are
supported by physical evidence. The defective installation of the block heater was a cause of the fire
that damaged the Toyota Highlander.

The fire that damaged the Toyota Highlander was caused by the defective installation of the engine
block heater.




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  haer   undrthcwhkh|
                  Figure 13: Engine Block Heater Power Cable on Exhaust Pipe




                       Figure 14: Toyota Highlander Engine Block Heater




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    Field Technical Reoo     Tovota Canada lnc.
    I reviewed five Field Technical Reportswritten by Toyota Canada lnc. (TCl). These reports document the
    condition of vehicles which experienced thermalevents that were alleged to have been caused by the
    engine block heater power cable.

16_Camry HV_6656
Text taken from this report states: "However, there was evidence of mechanical domage to the body of
the cortridge, consistent with a striking tool used repeotedly to likely seat the cartridge. Also, the
retaining clip appeared to be deformed, ond one side of the clip exhibited morks consistent with o
grinding tool. The body of the cartridge also had small sections that exhibited marks consistent with o
grinding tool."3

AND


"Block heater cortridge was fully inserted, however the clip wos not in place and the cartridge could be
stid in and out of positionA

The installation of this engine block heater was defective. Actions such as grinding on the engine block
heater and striking it with a tool are not consistent with the instructions provided by the manufacturer.
Also, the defective installation left the heater free to slide out of the core hole. lf the heater comes out
of the core hole, the heat it generates will not be transferred (conducted) away from it at the designed
rate because of a reduction in contact surface area. With the heat not being transferred away from it at
the intended rate, its temperature will increase to a temperature that would damage the connector.
Also, in this condition the heater itself will become hot enough to ignite flammable materials.

The installation of this engine block heater was defective because it does not comply with the
manufactu rer's written instructions.

t6_Corolla_7762
The report states: "there wes no evidence of greose appticotion when the cartridge was removed"s

The manufacture/s instructions clearly slate "Coot the cortridge hole and the cartridge heater (body
only, not terminols) with NSCG silicone greose G-624 to ensure good heot tronsfer, ond prevent moisture
(salt splash) from entering the hote (Figure 1).'rt

Corrosion forming in between the engine block heater and the core hole, along with a lack of heat
conducting compound will reduce the rate at which heat generated by the heater is conducted away
from it. With the heat not being transferred away from it at the intended rate, its temperature would
increase to temperatures that will damage its electrical connector.

The installation of this engine block heater was defective because it does not comply with the
ma    nufacturer's written instructions.



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    16_RAV4 HV_6691
    The report states: "there wos no evidence of greose application when the cortridge was removed."T

    The manufacturer's instructions clearly stale "Coot the cartridge hole and the cartridge heater (body
    only, not terminals) with NSCG silicone greose G-624 to ensure good heat tronsfer, and prevent
    moisture (salt splash)from entering the hote (Figure 1)."8

Corrosion forming in between the engine block heater and the core hole, along with a lack of heat
conducting compound will reduce the rate at which heat generated by the heater is conducted away
from it. With the heat not being transferred away from it at the intended rate, its temperature would
increase to temperatures that will damage its electrical connector.

Also noted in the report: "The routing of the block heater wiring was evident from the thermal
evidence/remains. The routing deviated from the installation instructions entirely.'E

The installation of this engine block heater was defective because it does not comply with the
manufacture/s written instructions.

1-7_Corolla CW_8250
The report states: "there wos no evidence of grease opplication when the cortridge wos removed" lo

The manufacturer's instructions clearly state "Coot the cartridge hole ond the cartridge heater (body
only, not terminols) with NSCG silicone greose G-624 to ensure good heat transfer, and prevent
moisture (salt splash)from entering the hole (Figure 7)."11

Corrosion forming in between the engine block heater and the core hole, along with a lack of heat
conducting compound will reduce the rate at which heat generated by the heater is conducted away
from it. With the heat not being transferred away from it at the intended rate, its temperature would
increase to temperatures that will damage its electrical connector.

The installation of this engine block heater was defective because it does not comply with the
manufactu rer's written instructions.

L7_Sienna_9493
The report states: "There wos no grease found on the cortridge or within the engine block cartridge
           12
hole."

The manufacturer's instructions clearly state "Coat the cartridge hole and the cartridge heater (body
only, not terminals)with NSCG silicone grease G-524 to ensure good heot tronsfer, and prevent moisture
(solt splash) from entering the hole (Figure 1)."13

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 Corrosion forming in between the engine block heater and the core hole, along with a lack of heat
 conducting compound will reduce the rate at which heat generated by the heater is conducted away
 from it. With the heat not being transferred away from it at the intended rate, its temperature would
 increase to temperatures will damage its electrical connector.

 The installation of this engine block heater was defective because it does not comply with the
 manufactu rer's written instructions.

All five Field Technical Reports performed by TCI document installations that do not comply with the
manufacturer's written instructions. There are several different defective conditions that are
documented, and one that appears in multiple reports. All reports illustrated installation defects that
would result in inadequate heat transfer from the engine block heater to the engine block, which would
cause the engine block heater to become excessively hot. Since the engine block heater's power cord is
physically in intimate contact with the heater, the power cord's plug would also become excessively hot
and be damaged by heat.

2016 Toyota 4 Runner lnstallation Defect
ln an email dated 29 February 2020 the owner of a Toyota 4 Runner contacts the dealer they purchased
the vehicle from. to
Text in the email states:

"As you con see, it melted at the junction between the wire ond the plug. They did not find any evidence
that the instoller hod used recommended NSGC silicone greose which enobles it to transfer heot from the
plug to the block, therefore causing it to overheot and melt."

The installation done by the dealer is defective because they did not follow the manufacture's written
instructions and did not use the recommended grease.

The defective installation of engine block heaters is well documented and will increase the risk of a
thermal event.

Rebuttal of Shideh's Reports

Sean Shideh, P.E., (Shideh) was retained by Jermain, Dunnagan, & Owens, PC to advise if the ECI/ECC
engine block heaters were the cause of the subject thermal events. Shideh has issued two versions of a
reportls; all versions which I have reviewed have the same three conclusions. Shideh has also issued a
report concerning his investigation of the Jeep Patriotl6

ln the summary of documents reviewed section of his reporttt, Shideh states that "TCl investigators
found most of the fires to have origins in the silicon molded female section of the connector to heater
element". However he does not identify which documents these assertions were made in, does not
identify what methods of fire investigation were used to make the determination, nor does he identify

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     Bat"r stamp KDH 005453-005606 - Kendall's 2nd Supplemental Disclosures
t'Bates
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 any specific defect that caused the failure. He also states that: "TCl investigated or was aware of at least
 seven fires involving vehicles equipped            with
                                                  913". This has little or no bearing on the subject
                                                           EBH
 because allToyotas sold by Kendall to Alaska customers are equipped with the engine block heater.


Shideh goes in the same sectionl8 on to offer that "EBH 913 samples collected from dealer inventories
showed "anomalies" in the wires and crimping at the female section of the heater connector" but he
does not identify any specific defect that has been proven in a reliable and repeatable way to cause a
fire.

A series of laboratory tests was performed as a collaborative effort between TCI and ECI/ECC in an
attempt to duplicate the thermal events exhibited by the engine block heater cord (the duplication
tests), During the duplication tests, none of the anomalies alluded to by Shideh resulted in thermal
events.lt During the duplication tests thermal events could only be recreated by exposing the engine
block heater cord's silicone plug to temperatures well above its design rating,20 The incident engine
block heaters are designed and rated to operate safely up to 105 Degrees Celsius ('C). Only exposure to
temperatures at or above 150 'C would reliably cause a thermal event.21

ECC/ECI subjects every cord produced      to a high potential test, where the cord's conductors are
energized to 1,500 volts to evaluated the condition of the insulation and uncover any manufacturing
defects that would yield a short circuit within the cord.22 A high potential test, also known as a Mega
Ohm test, or megger test is a reliable and industrially accepted method of evaluating electrical
insulation. This is an effective test that will reliably and repeatably reveal deteriorated or defective
electrical insulation.23

The information in Shideh's Summary of Documents Reviewed mischaracterizes the duplication
testing.


ECC/EC|'s quality control and quality assurance testing on the engine block heaters was reasonable


The engine block heaters are not defective in a manner that makes them unfit or unsafe for their
intended use.




tt
     Bates stamp KDH 008640
1e
     Deposition Testimony ofJosh Dare; 29 October 2019; P55 L26 -P56       L2
20
     Deposition Testimony ofJosh Dare; 29 October 2019;P26L6-8
21
     Deposition Testimony ofJosh Dare; 29 October 2OL9;P27 L20-25
22
     Deposition Testimony of Josh Dare; 29 October 2OI9; PL37 L6-19
"    "A Stitch ln Time" The Complete Guide   to Electrical lnsulation Testing Copyright 2006



                                    Robson Fiii.dliSic                                                          L7



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                                                                    31 of 31ECI 158400
 Shideh performed an inspection of theJeep Patriot, VIN 1C4NJRBBXFD214355, and provided a report. ln
 his report Shideh states that:

"All the wiring horness to the block heater ond heot pods for the battery, etc., hod been damaged and
destroyed in the fire. The block heater was found ploced and installed securely inside an engine port. A
wire leoding to the block heoter showed evidence of shorting. However, the root cause of the short
remains unknown. lt is conceivoble that the wiring harnesses for the black heoter and/or heoting pads
sustained domages from an accident thot occurred before the fire."

ln his investigation Shideh is fixated on the engine block heater. He has observed crash damage to the
vehicle. Shideh speculates that it's conceivable that the engine block heater wiring has been damaged
in the crash however he does not offer any explanation as to how this would be possible. ln his fixation
with the engine block heater and its wiring he failed to notice that a large, unfused, and constantly
energized cable (starting and charging system cable), had sustained damage in the crash. This cable is
located proximate to an area damaged in the crash, but it was either not noticed or was ignored by
Shideh. Shideh's fire investigation of the Jeep was not thorough, and he does not indicate that he
considered any alternate ignition sources or causes of the fire besides the engine block heater and its
wiring.

ln an email dated 10 July 20L9 Brian Murphy, Federated Service lnsurance Company, is discussing the
vehicle fire investigation of the Toyota Highlander, VIN 5TDJZRFH4HS38736, with Andrew Brack, Kendall
Auto.2a ln the email Murphy states that their expert (Shideh) did not find evidence of improper
installation and that they had only asked him for a verbal report.

Figure L4 of this report depicts the incident block heater. The silicone rubber connector, which has been
alleged as being the source of ignition in many of the fires, is still intact. The block heater was found out
of the engine, lying across an exhaust pipe. There is physical evidence documented by TCI in their
investigation of 16_Camry HV_5656, mentioned previously in this report, that an engine block heater
has previously been installed in a defective manner and was able to slide out of the core hole. Despite
this, Shideh does not find that an installation defect could be the reason the engine block heater was
discovered lying across an exhaust pipe, out of its core hole. Further, Shideh offers no explanation as to
how the engine block heater came out of its core hole and opines that a defective cord is the cause of
the fire.

Despite the physical evidence documented by TCI concerning installation defects and the physical
evidence presented in the Toyota Highlander fire investigation, Shideh states as his first conclusion in his
report that:

            "Errors in installotion procedures of the EBH 913 by Toyota dealer technicians connot be
            considered a factor in these fires."2s




'o Bates stamp KDH 008470 Kendall's 7th Supplemental Disclosures
"   Bates stamp KDH 008562




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I disagree with this conclusion. I have identified a more likely cause of the Highlander fire, defective
installation. Additionally Shideh should be considering other potential causes such as installation errors
as potential causes of the fires to avoid bias. His conclusion is contrary to the text of NFPA 92L26,4.3.9
which states:

When using the scientific method, testing the hypothesis should be designed to disprove the hypothesis.
Confirmation bias occurs when the investigator tries to prove the hypothesis. This can result in foilure to
consider olternate hypotheses, or premoturely discounting seemingly contradictory doto without on
o p pro   pr ia te o sse ssme nt.


This is exactly what Shideh has done. All five of the technical field reports done on vehicles which had
experienced a thermal event exhibited some sort of, or multiple installation defects. lt is likely that the
installation of the engine block heater in the Toyota Highlander was defective, and allowed the heater to
fall out of its core. However, Shideh opines that installation errors cannot be considered because
installation errors "did not suddenly become the technicions practice", i.e. the technicians have been
performing defective installations throughout the past.

Shideh's first conclusion, that installation procedures cannot be considered a factor in these fires is a
demonstration of confirmation bias, and the conclusion is without merit.

The National Fire Protection Association's (NFPA) mission, per their website, is:
"To help save lives ond reduce loss with information, knowledge, ond possion. NFPA delivers informotion
and knowledge through more thon 3OO consensus codes ond stondards, reseerch, troining, education,
outreach and advococy; ond by partnering with others who share an interest in furthering oLtr mission."

 'NFPA 927 is the Guide for Fire & Explosion investigation was developed by the Technical Committee on
 Fire lnvestigation to ossist in improving the fire investigotion process and the quality of information on
fires resulting from the investigation process."

Shideh's vehicle fire investigations are based on preconception, prejudice, confirmation bias, and do not
adhere to the basic methodology of a fire investigation as defined in NFPA 921.

Shideh's vehicle fire investigations do not adhere to the methodology given in NFPA 921, are not
based in science, and are without merit.

Shideh's third conclusion is that:
"There were no reports of fires signifying a trend within a specific Toyoto model, engine fomily, or certain
dealer's instollotion procedure."27

This statement is false. There is a trend and   it relates thermal events to deale/s installation procedure.
All of the vehicles subjected to a TCI field report, which experienced a thermal event had a documented
installation defect present. The Toyota Highlander which caught on fire likely had an installation defect.
There is a clearly defined relationship between engine block heater installation defects and engine block
heater thermal events.




"NFPAg2L GuideforFire&Explosionlnvestigations,20L4,National   FireProtectionAssociation
"   Bater stamp KDH 008642, KDH 008563




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 Shideh's provides no data or scientific basis to support his third conclusion

 ln Kendall's Responses to ECI & ECC's 1't Discovery requests, lnterrogatory number 7, when asked to
 identify any vehicle in which a block engine heater [sic] cord melted or was physically damaged; they
 identify 9 vehicles. Of those nine vehicles, I was allowed to inspect three of them, despite my request to
 be allowed to examine more.

 ln the complaint filed in Superior Court for the State of Alaska28, it is stated that:


             "Since at leost Jonuary of 2014 Kendoll hos installed block heoters on ollToyota vehicles
             it sold to Alaska cor purchosers."

 It is reasonable to believe that nine vehicles is a small percentage of the number of Toyota's that Kendall
 has sold with an engine block heater since 20L4. Evaluation of the data I have been presented with
supports that a small number of the Toyota's sold by Kendall with an engine block heater since 2014
have experienced a thermal event. Of the vehicles that experienced a thermal event and had a Field
Technical Report done by TCl, all of these vehicles (lOO%l had a documented installation defect related
to the engine block heater's ability to transfer heat. Of the vehicles which I was allowed to inspect on
behalf of ECI/ECC, one third had a likely cause not related to the engine block heater (Jeep Patriot). One
third had a likely cause related to a defectively installed engine block heater (Toyota Highlander). The
remaining one third the cause of the fire was undetermined (Toyota Tacoma).


The data supports that there is a direct relation between defectively installed engine block heaters and
engine block heater thermal events.


Shideh's third conclusion concerning the lack of a trend in the incidents is unsupported by data, has
no scientific basis, is incorrect, and is without merit.


Shideh has not completed any scientific analysis that would be repeatable by a peer to identify any
specific manufacturing defect that identifies the engine block heater or its cable as the cause of the
vehicle fires.




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     Complaint, Kendall vs. Warren, Superior Court, Alaska, Case No. 3AN-18-6927   ;22   May 2018, Paragraph 8




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7.O         FINDINGS


Within the bounds of reasonable engineering certainty, and subject to change if additional information
becomes available, it is my professional opinion that:



    1.     The fire that damaged the Jeep Patriot was caused by a damaged starting and charging system
           cable.

    2.     The fire that damaged the Toyota Highlander was caused by the defective installation of the
           engine block heater.

    3.     The defective installation of engine block heaters is well documented and will increase the risk
           of a thermal event.

    4.     The information in Shideh's Summary of Documents Reviewed mischaracterizes the duplication
           testing,

    5.     ECC/EC|'s quality control and quality assurance testing on   the engine block heaters was
           reasonable.

    5.    -'The engine block heaters are not defective in a manner that makes them unfit or unsafe for
            their intended use.

    7.     Shideh's first conclusion, that installation procedures cannot be considered a factor in these
           fires is a demonstration of confirmation bias, and the conclusion is without merit.

    8.     Shideh's vehicle fire investigations do not adhere to the methodology given in NFPA 921, are not
           based in science, and are without merit.

    9.     Shideh's third conclusion concerning the lack of a trend in the incidents is unsupported by data,
           has no scientific basis, is incorrect, and is without merit.

    10. Shideh has not completed any scientific analysis that would be repeatable by a peer to identify
        any specific manufacturing defect that identifies the engine block heater or its cable as the
        cause of the vehicle fires.



     (
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Stanley Jaworski, P.E., CFEI, CVFI




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                   Stanley Jaworski, P.E. History   of Expert Testimony by Deposition or Trial

1 Sept, 2015
Donald S. Rubenack, Jr. L.L.C. vs. CE Group, LLC
Offices of David R. Voyles, 705 Second Avenue, 1300 Hoge Building, Seattle, WA 98104
Deposition

3 May 2016
Rubenack v. CE Group
Whatcom County Superior Court, WA
Trial

9 Aug, 2015
Dancer v. Giorgi
U.S. Legal Support North 2710 Gateway Oaks Dr. 300, Sacramento, CA 95833
Deposition

l   June 20L8
Snow, Walden v. Pick N Pull
Byers & Anderson Court Reporting Service 600 University Street, Suite 2300, Seattle, Washington 98101
Deposition

18 June 2018
Guilbault v. Ferno Washington, lnc.; ER[A, lnc.; dlbla EMSAR Chicago
Law Offices of Frank S. Capuani, 135 LaSalle Street, Suite 2950, Chicago, lllinois
Deposition

11 Dec. 2018
Palisade Park Condominium Association v. Brian Gontarz
IBM Building, 200 Fifth Ave, 1-2*,floor conference room, Seattle, Washington
Deposition


5&6Aug.2019
Martelli Development Group,    LLC v. Zurn-Pex Inc., Scagnelli Plumbing & Heating,       LLC
Hill Wallack LLP, 2 Bridge Avenue, Suite 21,Red Bank, NJ O77OI
Deposition


30 March 2020
Janet Forrester v. Nevada Department of Agriculture; Safco Products Co
Telephone
Deposition


15 July 2O2O
CARI LEE GREEN v. Arizona Structural Laminators L.L.C.
Zoom Meeting
Deposition




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          Robson rdiiHiiSic
                                       STANLEY JA[^/ORSKl, P,E., CFEI, CVFI
                                                Mechanical Engineer

PROFESSIONAL EXPERIENCE

2015 to        Robson Forensic, lnc.
present        Associate
               Provide technical investigations, analysis, reports, and testimony toward the resolution of
               commercial and personal injury litigation involving Mechanical, HVAC systems, welding incidents
               and defects, traffic accident reconstruction, and failure analysis.

               HVAC
               o Chilled water systems: Chillers, piping, pumps, piping accessories, control valves, isolation
                 valves, bypass valves, valve actuators, evaporators, cooling coils, cooling towers, air
                 separators, condenser water systems, and condensers, primary/secondary systems, primary
                 only systems, bypass valve control, heat transfer issues, water side economizers, and low
                 delta T issues.
               o Compressors: Centrifugal, screw, reciprocating, and scroll type compressors.
               r Refrigerant management: Charge adjustment, purge units, non-condensable contamination,
                 and oilseparators.
               o lnstrument and controls: Flow meters, temperature sensors, variable speed drives, valve
                 control, controller networks, sequence of operations, control logic, humidity sensors, flow
                 stations, differential pressure sensors, power meters, current taps, freeze stats, averaging air
                 temperature sensors, immersion wells, relays, and contactors.
               o DX svstems and equipment: Packaged RTUs, split systems, through wall systems, ductless
                 systems, refrigerant piping, oil return issues, and compressor failure issues.
               o Air side svstems: Air handlers, make up air units, outside air units, fan coils, heating and
                 cooling coils, duct heaters, duct work, duct sizing, blowers, return air paths, dehumidification
                 issues, condensation/dew point issues, comfort issues, and building pressurization.
               r Exhaust svstems: Building exhaust, kitchen exhaust, and toilet exhaust.
               a Heatinq svstems: Electric resista nce, heat pump, gas furnace, natural gas, hydronic heating
                 systems, hot water heaters, and gas line.
               a Life safety: Duct mounted smoke detectors, smoke control, fire dampers, and smoke
                 dampers.

               PLUMBING, WATER AND GAS
               o  Domestic hot and cold water: Temperature control, temperature safety devices, scalding,
                  water heaters, mixing valves, circulators, pumps, auto flush devices, freeze protection,
                  corrosion, indirect water heaters, low pressure steam, reverse osmosis systems, pressure and
                  temperature relief valves, reverse osmosis systems, pressure and temperature relief valves.
               o Gas svstems: Natural gas and propane, gas piping systems, regulators, appliances, gas
                  valves, leak check.
               o Gas-fired appliances: Boilers, furnaces, hot water heaters, radiant heaters, wall heaters,
                  ranges, ovens, gas logs and burns.
               r Carbon Monoxide Poisoning
               o Fire Sprinkler Systems

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          Rohson riiiUffSic
                                         STANLEY JAWORSKt, P.E., CFEt, CVFt
                                                  Mechanical Engineer

                WELDING
                . Experienced TIG welder: Welding of aluminum, steel, stainless steel, and magnesium using
                  the Tungsten lnert Gas Welding process.
                . Experienced SMAW welder: Welding of steel pipe and steel members, and steel assemblies
                  using the Shielded MetalArc Welding process.
                o Experienced MIG welder: Welding of automotive exhaust, steel members, steel assemblies,
                  and stainless steel using the Metal lnert Gas welding process.
                . Experienced FCAW welder: Welding of steel pipe, automotive components, and steel
                  reinforcements using the Flux Core Arc Welding process.
                r Plasma cutting: Experienced operator of manually operated Plasma Cutting machine.
                o Oxy-acetylene cutting torch: Experienced operator of Oxy-acetylene cutting torch.
                o Brazing: Experienced in the Brazing of copper and brass refrigeration components and line
                    sets.
                o   Welding and fabrication: Experienced in the application of various methods of welding in the
                    fabrication of new equipment and machinery, pipe welding, and in the application of welding
                    as a method of repair.

               HYDRAULICS
               .    Power: Pumps, Motors, Cylinders, Actuators, Filters
               r    Control: Control Valves, Pressure Maintaining Valves, Flow Regulating Valves, Governors,
                    Accumulators, Pressure Regulators, Pilot Actuated, Servos, Pressure Compensating Valves,
                    Check Valves, Hydraulic Logic

               ELECTRICAL
               o    Power: 48O,22O,2O8,12O VAC, generators, transformers, breakers.
               o    Control: 24,12OYAC, low voltage DC, equipment control panels, VFDs, PLCs, touch screens,
                    switches, temp and pressure sensors, loop controllers, transmitters, l/P converters, level
                    sensors.
               o    Electrical heating svstems: Experienced in the application, installation, service, and repair of
                    electric resistance heaters including wall pack heaters, base boards, duct furnaces, electric
                    pre-heat, electric re-heat, and electric resistance terminal unit heaters and all safety and
                    control devices.
               .    Marine Electrical Systems: 12Ol24O VAC Systems, DC Systems, lnverters, Generators, Shore
                    Power, Grounding Bus, Distribution Panels, lsolation Transformers

               INDUSTRIAL SAFETY
               o  Power Press, Press Brake, Hydraulic Cylinders, Machine Guarding

               AGRICULTURAL SAFEry
               o Center Pivot lrrigation Systems, lrrigation Pipeline




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          Robson riiiHffSic
                                       STANLEY JAWoRSKI, P,E,, CFEI, CVFI
                                                Mechanical Engineer

2009 to        Optimum Energy
2015           Senior Technical Account Manager
               . Responsible for building customer relationship at both plant operator level and executive
                   levels during deployment and maintaining relationship for life of the account.
               o Provided technical support for customers and partners.
               o Collaboration with engineering, development, and project deployment team.
               o Maintained excellent relationships with customers, acting as advisor and advocating for
                   product and service enhancements that positively impact operational savings and
                  demonstrate the value of our offering.
               o Addressed issues that impact plant performance and energy savings.
               o Assisted customers with analysis and troubleshooting of issues involving control theory, direct
                  digital control (DDC) systems, chilled water systems, air handler systems, boiler systems, VAV
                  systems, compressed air systems, psychrometrics, BACnet networks, LON networks, lP
                  networks, electrical systems, variable speed drives, fans, pumps, cooling towers, test and
                  balance (TAB), packaged rooftop units, dehumidification, DX systems, split systems, energy
                  recovery units, heat (enthalpy)wheels, heat recovery machines, heat exchangers, valves,
                  actuators, building pressurization, comfort applications, process applications, ventilation
                  systems, air handlers, ductwork, piping, filters, strainers, diffusers, insulation, maintenance,
                  bearings, thermal energy storage, and control valves.
               r Analysis of the operational condition and efficiency of central heating and cooling plant as well
                  as its individual component condition and efficiencies.
               . Analysis of the operational condition and efficiency of air movement systems as well as its
                  individual component condition and efficiencies.
               r Reviewed and modified chiller plant operational procedures and operating sequences.
               o Analyzed, reviewed, and modified chiller plant and HVAC system maintenance programs.
               o Advised customers on best solution and options for equipment replacement, retrofit, and/or
                   repair.
               o   Managed the technical account management team and team work load.
               o   Coordinated with sales, engineering, development, and project deployment team.

2006 to        HVAC Environmental Solutions, lnc.
2009           Project Manager
               o Designed work (layout, sizing, and drawings) for duct work, natural gas pipe, chilled water
                   pipe, condenser water pipe, control valves, heat exchanges, packaged roof top units, pumps,
                  and fans.
               . Supervised the execution of work done by our installers, mechanics, and subcontractors.
                   Responsible for sizing and selecting pumps, pipes, cooling towers, roof top units, ductwork,
                  and other components, of air conditioning equipment.
               o Responsible for construction permit applications and the inspection and acceptance process
                  with the appropriate municipality.




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          Robson riiiHffSic
                                         STANLEY JAWoRSKt, P.E,, CFEt, CVFt
                                                  Mechanical Engineer

                o   Service, installation, and repair of control systems, chillers, packaged roof top air conditioners,
                    VAV boxes, PIU boxes, return air paths, flre dampers, smoke dampers, duct mounted smoke
                    detectors, networkable thermostats, lighting controls, duct heaters, contactors, relays,
                    equipment safety circuits, pumps, pump motors, fans, fan motors, blowers, exhausters,
                    variable speed drives, outside air dampers, damper actuators, control valves, control valve
                    actuators, communication lines, low voltage wiring, cooling coils, heating coils, expansion
                    valves, refrigerant distributors, condensers, refrigeration compressors, walk in coolers, walk in
                    freezers, dehumidiflers, cooling towers, economizer controls, heat exchangers, kitchen
                    exhaust, and toilet exhaust.
                .   Service and repair of refrigeration systems utilizing reciprocating, screw, scroll, and centrifugal
                    type compressors.
                .   DX and chilled water based cooling systems.
                o   Cutting, threading, and fitting of black steel gas line.
                o   Welding of steel pipe (SMAW)for chilled water and condenser water.
                r   Brazing of copper and brass refrigeration lines and fittings.

2005 to        Commissioning and Green Buildlng Solutions
2006           Ass is ta nt Co mmission ing Agent
               . Responsible for reading and interpretation of construction contract documents
               o Formulated static or'pre-functional' testing routines and checksheets.
               r Prepared dynamic of 'functional' testing routines and checksheets.
               . Onsite execution of pre-functional and functional tests.
               . Preparation of the commissioning reports.
               o Performed calculations for determination of LEED credit requirements.
               . Application for LEED credits and certification.
               r Testing of the following systems/equipment and their associated controls: building envelopes,
                   building pressurization, demand based ventilation, thermostatic controls, dehumidification,
                   energy recovery units (heat wheel), hot gas bypass valves, VAV boxes, boiler staging controls,
                  thermal energy storage, fans, pumps, exhaust systems, economizers, building automation
                   control systems, and life safety interlocks.
               e Verification of construction methods meeting SMACNA standards.
               o Veriflcation of construction materials complying with contract documents and design
                  specifications.

2004 to        Waypoint Systems
2005           Field Engineer
               . lnstalled, configured, programmed, and troubleshot building automation controllers, systems,
                   and networks.




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           Robson riiiUffSic
                                        STANLEY JAWoRSK|, P.E., CFEt, CVFt
                                                Mechanical Engineer

    2003        Higginbotham and Associates (now Marietta NDT)
                 Welder/Fabricator
                o Constructed welded steel assemblies, steel/lead/steelwall panels, vaults, enclosures,
                   gantries, steel/lead/steel door.
                . Operation of manual machine and fabrication tools including drill press, knee mill, engine
                   lathe, magnetic base drill, hole saw, punch press, press brake, shear.
                r Welding processes used: Metal lnert Gas, Tungsten lnert Gas, Shielded Metal Arc Welding.
                r Metal cutting: Oxy-acetylene, plasma, reciprocating saw, band saw.
                r Blueprint interpretation, welding print interpretation.

PROFESSIONAL CREDENTIALS

               Professional Engineer, Mechanical;California, Colorado, Montana, Nevada, Oregon, Texas,
                   Washington
               Certified Niagara AX (Factory Certification 2OO7)
               United States Government, General Services Administration - Contractor, Public Trust, Region lV
               EPA 608 & 609 Certified (Refrigeration Technician)
               Distech Controls (Factory Certifi cation) Free Prog ra mmab le Controllers
               NRA Certified Range Safety Officer
               Certified Fire and Explosion lnvestigator (CFEI)
               Certified Vehicle Fire lnvestigator (CVFI)


EDUCATION

               B.S., Mechanical Engineering Technology, Southern Polytechnic State University, Marietta
                   Georgia,2004

                Continuing Education
               Professional Ethics for Texas Engineers, PDH Engineer, December 2017
               Finding the Root Cause, PDH Engineer, November 2017
               lntroduction to Hazard Evaluation, PDH Engineer, October 2017
               Basics of Crack Propagation, PDH Engineer, October 2O17
               Fire Protection Fundamentals, PDH Engineer, September 2017
               HVAC lnstrumentation and Control, PDH Engineer, September 2017
               Stairwell Pressurization Systems, PDH Engineer, September 2O17
               AC Waveforms: Basic Quantities for Non-Electrical Engineers, PDH Engineer, August 2017
               Vehicle Fire, Arson & Explosion lnvestigation Science &Technology Seminar, National Association
                   of Fire lnvestigators, 2017
               lnternational Fire, Arson, & Explosion lnvestigation Training Program, National Association of Fire
                   lnvestigators, 2016




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          Rohson rdiiHiiSic
                                       STANLEY JAWoRSKt, P.E., CFEt, CVFt
                                               Mechanical Engineer

    PROFESSIONAL MEMBERSHIPS

                American Society of Heating, Refrigeration & Air Conditioning (ASHRAE)
                American Society of Mechanical Engineers (ASME)
                National Association of Fire lnvestigators (NAFI)
                National Fire Protection Association (NFPA)
                Washington Association of Technical Accident lnvestigators (WATAI)


INVITED SPEAKER

                Air Barriers: What Are They, What Do They Do and How Do You Foul Them Up?
                    WDTL Annual Construction Law Update, Presented with William E.J. Martin, AlA, NCARB,
                    Seattle, WA March 4,2016




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                Rohson riiiUiiSic
                                             STANLEYJAWoRSK|, P.E., CFEt, CVFt
                                                     Mechanical Engineer


           AUTOMOTIVE OVERVIEW

               Prior to obtaining his mechanical engineering degree Mr. Jaworski was employed as an ASE
               Certified automotive technician. He remains active in automotive repair in a variety of ways in his
               spare time. He has more than 20 years and much experience working on all of the systems part and
               parcel to the automobile. He is an expert automotive repair, and in the operation of an automotive
               repair facility.

           Motor Vehicle Repair
           Diagnosis and repair of engine, transmission, transfer case, differential and final drive, suspension and
           steering systems, conventional and anti-lock brake systems, stability/traction control, fuel system,
           emissions systems, climate control, entertainment, video, navigation, network, multiplexing, primary
           and supplemental restraint systems, lighting/ electrical, interior/exterior components and systems,
           interaction of dealers and manufacturers, and Safety Recall repairs. Proper use of service repair tools
           and equipment, repair procedures and shop operations.

           Vehicle Accident Reconstruction
           lnspection of damaged vehicle and components. Site inspection. Review of police report, witness
           statements, scene photos and other documents. Computational recreation of the accident using facts
           and scientifically accepted methodology to determine how the accident occurred, including elements
           within the accident. Allto determine cause(s)of the accident, including the resulting severity.

           Vehicle Fire lnvestigation
           Certified Vehicle Fire lnvestigator, National Association of Fire lnvestigators


           PROFESSIONAL AUTOMOTIVE EXPERIENCE

           2000 to       Supertech Automotive
           2002          Automotive Technician
                         . Diagnosis, maintenance, repair, removal and replacement of the following passenger
                            car and light truck systems and their associated components: gasoline engines,
                            diesel engines, engine management systems, engine cooling systems, fuel
                            management systems, exhaust systems, emission control systems, brake systems,
                            power train and driveline, suspension systems, steering systems, airbag systems,
                            electrical controls, charging systems, accessory systems, interiors and trim, heating
                            system, air condition systems, tires, wheel alignment, transmissions.
                         o Welding of automotive components and assemblies.




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                                          EEXPERTS       r
             Rohson                 Fdi rcnsrc
                                           STANLEY JAWORSK|, P,E,, CFEI, CVFI
                                                   Mechanical Engineer

            1998 to    Sellars Goodyear
            1999       Automotive Technician
                       o Diagnosis, maintenance, repair, removal and replacement of the following passenger
                           car and light truck systems and their associated components: gasoline engines,
                           diesel engines, engine management systems, engine cooling systems, fuel
                           management systems, exhaust systems, emission control systems, brake systems,
                           power train and driveline, suspension systems, steering systems, airbag systems,
                           electrical controls, charging systems, accessory systems, interiors and trim, heating
                          system, air condition systems, tires, wheel alignment, transmissions.

            1998       Firestone
                       Automotive Technician
                       . Diagnosis, maintenance, repair, removal and replacement of the following passenger
                           car and light truck systems and their associated components: gasoline engines,
                           diesel engines, engine management systems, engine cooling systems, fuel
                           management systems, exhaust systems, emission control systems, brake systems,
                           power train and driveline, suspension systems, steering systems, airbag systems,
                           electrical controls, charging systems, accessory systems, interiors and trim, heating
                           system, air condition systems, tires, wheel alignment, transmissions.

            1995 to    Midas Muffler and Brake
        't998          Automotive Technician
                       o Diagnosis, maintenance, repair, removal and replacement of the following passenger
                          car and light truck systems and their associated components: gasoline engines,
                          diesel engines, engine management systems, engine cooling systems, fuel
                          management systems, exhaust systems, emission control systems, brake systems,
                          power train and driveline, suspension systems, steering systems, airbag systems,
                          electrical controls, charging systems, accessory systems, interiors and trim, tires,
                          wheel alignment, transmissions.
                       o Welding of automotive components and exhaust systems.
                       r Welding of miscellaneous items brought to the shop by surrounding shops and
                          individual customers.


        AUTOMOTIVE CONTINUING EDUCATION

                       Traffic Accident Reconstruction   - 2, Northwestern   University Center for Public Safety
                       Traffic Accident Reconstruction   - 3, Northwestern   University Center for Public Safety




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